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IN THE UNITED sTATEs DIsTRJCT COURT § `”VQ~“D-C-
FOR THE WESTERN DISTRICT oF TENNESSEEIJS AUG 12 PH 3= 29 l

  

EASTERN DIVISION __ J_ _
\. adll"l-"“" `* `i. UGULD
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l*é@ 1355 l'=`“.-‘, JL.CKS&\E
DENNIS CROCKETT, §
ll
Plaintiff, §
ll
VS. §§ No. 05-1152-T/An
ll
DANA SPAULDING, ET AL., jj
l
Defendants. g

 

ORDER ASSESSING $25() FILING FEE
ORDER OF DISMIS SAL
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER DENYING MOTION FOR
A TEMPORARY RESTRAINING ORDER AND A PRELIMINARY INJUNCTION
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Dennis Crockett, Tennessee Department of Correction (“TDOC”) prisoner
number 351268, an inmate at the Whiteville Correctional Facility (“WCF”) in Whiteville,
Tennessee, filed apro se complaint pursuant to 42 U.S.C. § 1983 on June 3, 2005, along
With a motion seeking appointment of counsel and a motion seeking a temporary restraining
order and a preliminary injunction The Clerk shall record the defendants as Dana
Spaulding, a nurse at the WCF; Dr. Frederick Cole; Patricia Clark, a nurse and the WCF

Health Care Administrator; WCF Assistant Warden Sarah Rice; WCF Warden Stephen

This document entered on the docket she t |n compliance
with mae 53 and,'or_rs (a) FRCP on § l l§ 105

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Dotson (who is identified in the complaint as “Steve Dotson”); Shift Commander Roger
Sturgis; and the Corrections Corporation of America (“CCA”).
I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. § 191 S(a)-(b),
all prisoners bringing a civil action must pay the full filing fee of 8250 required by 28 U.S.C.
§ 1914(.':1).I The statute merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in installments

ln this case, the plaintiff has properly completed and submitted an in forma pauperis
affidavit containing a certification by the trust fund officer. Although the plaintiff has not
submitted a trust fund account statement, the information supplied by the plaintiff is
sufficient to permit assessment ofthe filing fee. Pursuant to 28 U.S.C. § 191 5(b)(l), it is
ORDERED that the plaintiff cooperate fully with prison officials in carrying out this order.
lt is ORDERED that, within thirty (30) days after the entry of this order, plaintiff file a trust
fund account statement for the six months prior to the commencement of this action. lt is
further ORDERED that the trust fund officer at plaintiff’s prison shall calculate a partial
initial filing fee equal to twenty percent (20%) of the greater of the average balance in or
deposits to the plaintiff’ s trust fund account for the six months immediately preceding the
completion of the affidavit When the account contains any funds, the trust fund officer

shall collect them and pay them directly to the Clerk of Court. If the funds in plaintiffs

 

l Effective Marcli 7, 2005, the civil filing fee was increased from $l 50 to $250.

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account are insufficient to pay the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the plaintiff’ s account, and forward them
to the Clerk of Court. On each occasion that funds are subsequently credited to plaintiffs
account the prison official shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to plaintiff` s
account during the preceding month, but only when the amount in the account exceeds
Sl0.00, until the entire $250.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and tile it with the Clerk along with the
payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, 111 S. Highland Ave., Jacl<son, TN 38301

and shall clearly identify plaintiff’ s name and the case number on the first page of this order.

The obligation to pay this filing fee shall continue despite the immediate dismissal
of this case. 28 U.S.C. § 1915(e)(2). lf plaintiff is transferred to a different prison or
rcleased, he is ORDERED to notify the Court immediately of his change of addressl lf still

confined he shall provide the officials at the new prison with a copy of this order. If the

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plaintiff fails to abide by these or any other requirement of`this order, the Court may impose
appropriate sanctions, including a monetary fine, without any additional notice or hearing
by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of
this order to the warden of the WCF to ensure that the custodian of the plaintiffs inmate
trust account complies with that portion of the PLRA pertaining to the payment of filing
fees. However, the Clerk shall not issue process or serve any other papers in this case.

il. Analysis of Plaintiffs Claims

The complaint alleges that, in late 2002 or early 2003, plaintiff began to suffer from
severe abdominal pain and vomiting. He submitted a request to the medical department and
was seen by defendant Spaulding, who told him that he was suffering from gas and gave him
a Col<e.

Soon thereafter, the plaintiff alleges he suffered a debilitating attack. He was placed
on a liquid diet for three days. On the day he was to resume his regular diet, the plaintiff
was found unconscious on the floor of his cell. He was taken to the prison clinic, and
defendant Spaulding again concluded that he suffered from gas. Spaulding gave the
plaintiffa Col<e and took no further action.

Over the next several months, the plaintiff s condition allegedly worsened. He was

in constant pain, vomited frequently, suffered from dizziness, fatigue, lethargy,

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sleeplessness, and weakness and lost a significant amount of weight. He submitted
numerous sick call slips, which resulted in visits to defendant Spaulding, Who is allegedly
unqualified to make medical diagnoses

In mid-2003, plaintiff was finally referred to a nurse practitioner who, in turn,
referred the plaintiff to defendant Cole. The complaint alleges that Cole performed a
cursory examination and directed that the plaintiff be given Tums.

Plaintiffs condition worsened, and he continued to submit sick call requests In or
about October, 2003, defendant Cole ordered an ultrasound. Plaintiff was transported to an
outside facility on November 26, 2003 for the test. He was diagnosed with a severely
diseased gall bladder, and it was determined that his gall bladder had to be removed As of
August, 2004, defendants Cole, Clark, Rice, and Dotson had failed or refused to set a
surgical appointment for the plaintiff By that time, the plaintiff s condition had allegedly
deteriorated to the point that he could not retain ingested food and was forced to take
glucose tablets several times a day to maintain consciousness l\/Ioreover, plaintiff was
allegedly subjected to derogatory comments from other inmates and staff members who
inferred that he suffered from HlV/AIDS. The plaintiff contends that, throughout this time,
he continued to submit sick call requests

On September 10, 2004, plaintiff allegedly began receiving anutritional supplement,
called Resource, twice a day to minimize additional weight loss On September 14, 2004,

the medical department advised the plaintiff th at it had run out of Resource and was awaiting

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a new supply. The plaintiff was not provided an alternative supplement, so his condition
deteriorated further. He was provided with Resource again on October 1, 2004, after he
filed a grievance, but the medical department ran out ofResource again on October 9, 2004.
As before, the plaintiff was not given an alternative supplement On October 13, 2004, after
the grievance hearing, the medical department resumed the plaintiffs supply of Resource.

Plaintiff was taken to an outside hospital on November l, 2004 to have his
gallbladder removed By that time, the plaintiff weighed only one hundred ten pounds
Plaintiff was returned to the WCF with an order that he receive antibiotics for the next five
days, but that order was disregarded

Upon his return to the WCF on November 5, 2004, plaintiff was assigned an upper
level cell. Plaintiff allegedly informed defendant Sturgis that he was not supposed to be
climbing stairs and performing any activity that involved physical exertion or stress The
complaint alleges that Sturgis was allegedly aware of these restrictions When he made the
initial cell assignment, and he refused to change the assignment after the plaintiff
complained Sturgis also allegedly forced the plaintiff to lift several heavy objects within
various storage units in an unsuccessful effort to locate the plaintiffs property Once the
property was located, plaintiff was forced to carry it up the stairs to his assigned cell.
Plaintiff was housed in the upper level cell for six days and, as a result, he was repeatedly
forced to climb the stairs

On March 8, 2005, the medical department allegedly ran out of Resource again

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because defendant Clark failed to reorder it. Plaintiff was without his supplement until
l\/larch 15, 2005.

On April 20, 2005, plaintiff went to the clinic to obtain renewals of his monthly
orders for Resource and a special diet. The plaintiff was allegedly informed that the orders
were being renewed and he could pick up his special diet on April 21 , 2005. At that time,
the plaintiff weighed one hundred fifteen pounds The plaintiffs special diet was not
available on April 21, 2005. On April 26, 2005, plaintiffwas informed that defendant Cole
had discontinued his Resource, his special diet, and his prescription for Prilosec. The
plaintiff contends that he needs the special diet and Prilosec because he has a preexisting
gastrointestinal disorder and he has still not fully recovered from the gall bladder illness
The plaintiff allegedly submitted sick call requests concerning this issue, but they were
disregarded As a result, plaintiff is once again suffering from dizziness, fatigue, lethargy,
and weakness

Plaintiff alleges that CCA fails to provide an adequate medical staff at the WCF.
Defendant Cole is the sole medical provider with responsibility for several thousand
inmates l\/Ioreover, defendant Cole allegedly routinely misses his scheduled days at the
WCF.

Plaintiff further alleges that, in October, 2004, he went to the library to research a
possible legal action concerning the denial of medical treatment. The plaintiff alleges that

the library does not contain case law and is not staffed with qualified inmate legal aides

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The plaintiff seeks declaratory and injunctive relief and monetary compensation

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to
dismiss a complaint without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies Brown v.
_MJ§, 139 F.3d 1102 (6th Cir. 1993); M POI'ter v. Nussle, 534 U.S. 516, 532 (2002)
(“[T]he PLRA’s exhaustion requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only
money damages must exhaust administrative remedies although damages are unavailable
through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claims Knuckles El v.
mills 215 F.3d 640, 642 (6th Cir. 2000). To comply with the mandates of 42 U.S.C.
§ 1997e(a):

a prisoner must plead his claims with specificity and show that they have been

exhausted by attaching a copy of the applicable administrative dispositions to

the complaint or, in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome
Knuckles El, 215 F.3d at 642; see also Bovd v. Corrections Corn. of Am., 380 F.3d 989,
985-96 (6th Cir. 2004) (describing the standard for demonstrating exhaustion when prison
officials fail to respond in a timely manner to a grievance), cert denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to allege

exhaustion adequately may not amend his complaint to avoid a sua sponte dismissal); Cugy

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L_Sc_ott, 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for district court to
dismiss for failure to exhaust when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion). Furthermore, § 1997(e)
requires the prisoner to exhaust his administrative remedies before filing suit and, therefore,
he cannot exhaust these remedies during the pendency of the action. Freeman v. Francis,
196 F.3d 641 , 645 (6th Cir. 1999). Final_ly, the Sixth Circuit recently held that district courts
are required to dismiss a complaint in its entirety, pursuant to 42 U.S.C. § 1997e(a), that
contains any unexhausted claims Jones Bey v. Johnson, 407 F.3d 801, 805-09 (6th Cir.
2005).

ln this case, the plaintiff has not satisfied his burden of demonstrating that he
exhausted each of his claims with respect to each defendant The complaint alleges that the
plaintiff filed a grievance on October 1, 2004 concerning the provision of Resource and that
he filed a grievance on January 7 , 2005 concerning the allegedly inadequate law library. The
complaint is silent concerning any other attempt by this plaintiff to exhaust any of the
numerous claims alleged in this complaint Moreover, the plaintiff has not demonstrated
that he exhausted his claims against each of the named defendants, as required by Mng
M_r@, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did not exhaust claim
against warden because his grievance did not identify the warden or articulate any claim
aganmther)iiunnasv.VJoohnn,337f53d720,733-34(6Hi(Hr.2003),and§hgly,249fh3d

at 504.

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The Sixth Circuit has stated that “[a] plaintiff who fails to allege exhaustion of
administrative remedies through ‘particularized averments’ does not state a claim on which
relief may be granted, and his complaint must be dismissed sua sponre.” _m, 305 F.3d
at 489.2 l\/loreover, pursuant to the recent decision in J ones Bey, a district court must dismiss
any complaint that contains unexhausted claims rather than attempting to sever the
exhausted claims As a result, a case must be dismissed unless a prisoner has exhausted each
of his claims with respect to every defendant named in each claim. Foushee v. Wiggins, No.
3:05CV7108, 2005 WL 1364613, at *3 (N.D. Ohio June 8, 2005). Accordingly, the Court
DlSl\/llSSES the complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ 1997e(a). As the case is being dismissed, the motions for appointment of counsel and for
a temporary restraining order and preliminary injunction are DENIED as moot.

111. Appeal lssues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision iri forma pauperis Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in forma pauperis if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Coppedge v. United States, 369 U.S.
438, 445 (1962). An appeal is not taken in good faith ifthe issue presented is frivolous ga

Accordingly, it would be inconsistent for a district court to determine that a complaint

 

2 As the Sixth Circuit explained “lfthe plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement,
assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d at 489.

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should be dismissed prior to service on the defendants yet has sufficient merit to support an
appeal in forma pauperis See Williams v. Kullman, 722 F.2d 1048, 1050 n.1 (2d Cir.
1983). The same considerations that lead the Court to dismiss this case also compel the
conclusion that an appeal would not be taken in good faith.

lt is therefore CERTlFlED, pursuant to 28 U.S.C. § 191 5(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case.3 ln l\/chore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir.
1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of the installment procedures

for paying the appellate filing fee, he must comply with the procedures set out in McGore

 

and § 1915(a)-(b).
ph

lT lS SO ORDERED this 7 9 day of August, 2005.

%<Wwb.QM/ML

JAl\/l D. TODD
UNl D STATES DlSTRlCT JUDGE

 

3 Effective November 1, 2003, the fee for docketing an appeal is $250. E Judicial Conference Schedule
of Fees, 11 1,Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a $5 fee.

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UNlTED STATES DlSTRlCT COURT - WESTERN DlSTRlCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01152 was distributed by fax, mail, or direct printing on
August 15, 2005 to the parties listed

 

 

Dennis Crockett

Whiteville Correctional Facility
35 1268

PO Box 679

Whiteville, TN 38075

Honorable .l ames Todd
US DlSTRlCT COURT

